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 7
 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10
11
        NEMAN BROTHERS & ASSOC.,                     Case No.: 2:20-cv-11181-CAS-JPR
12
        INC., a California Corporation;
13                                                   NEMAN BROTHERS & ASSOC.,
                  Plaintiff/Counter-Defendant,       INC.’S OPPOSITION TO
14
                                                     INVERFOCUS’ MOTION FOR
15                vs.                                SUMMARY JUDGMENT OR
                                                     ADJUDICATION
16      INTERFOCUS, INC., a California
17      Corporation, et al.,
                   Defendant/Counter-Claimant        Date: August 16, 2021
18                                                   Time: 10 a.m.
19
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                                                 i
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 1
                        MEMORANDUM OF POINTS AND AUTHORITIES

 2
                                           I. INTRODUCTION
 3
              Interfocus argument based on their own interpretation of one word “cure” which
 4
       they argue to mean complete release after removing the on-going infringement. In
 5
       reading the settlement agreements as a contract, the case law mandates to look for the
 6
       objective intent manifested by the agreement as a whole, and also manifested by the
 7
       conducts of the parties, both at the time of, and subsequent to, the execution.
 8
               Reading of the relevant sections 5 (notification) and 6 (future disputes), and the
 9
10
       settlement agreement, in their entirety, clearly shows their subjective interpretation of

11     cure is out of context.

12            Further, the intent manifested by Interfocus itself during the negotiation of the

13     prior settlement agreement in March 2020 and the subsequent negotiation after receiving
14     the cease and desist letter in September 2020, consistently and clearly shows that
15     Interfocus’ argument based on “cure” was nothing but a litigation tactic Interfocus
16     invented for the first time after this lawsuit was filed.
17
                                     II. STANDARD OF REVIEW
18
19
              The Interfocus’ Motion mainly relies on its own self-serving interpretation of the

20     terms of the Settlement Agreement executed in the Prior Case between the Parties. “The

21     construction and enforcement of settlement agreements are governed by principles of

22     local law which apply to interpretation of contracts generally.” (emphasis added) Jeff
23     D. v. Andrus, 899 F.2d 753, 759 (9th Cir.1989). This is true even though the underlying
24     cause of action is federal. Id.; In re Beverly Hills Bancorp, 649 F.2d 1329, 1332–33 (9th
25     Cir.1981). Under California law, the interpretation of a contract is a question of law
26     subject to de novo review. If interpretation requires the resolution of disputed facts or a
27     determination of the credibility of extrinsic evidence, the appellate court will defer to the
28     district court's resolution of those issues if it is supported by substantial evidence. But
                                                      2
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 1     once the facts are resolved, the interpretation of the agreement in light of those facts is a
 2     question of law. Parsons v. Bristol Dev. Co., 62 Cal. 2d 861 (1965).
 3
                                            III. ARGUMENTS
 4
 5     1. The Settlement Agreement Clearly Provides the Dispute Remains for the Settlement

 6     After the Seven-Business-Day “Cure” Period.

 7
                A settlement agreement is treated as any other contract for purposes
 8
       of interpretation. Adams v. Johns–Manville Corp., 876 F.2d 702, 704 (9th Cir.1989).
 9
       Under California law, the intent of the parties determines the meaning of the
10
       contract. Cal. Civ. Code §§ 1636, 1638. The relevant intent is “objective”—that is, the
11
       intent manifested in the agreement and by surrounding conduct—rather than the
12
       subjective beliefs of the parties. Lawyer's Title Ins. Co. v. U.S. Fidelity & Guar. Co., 122
13
       F.R.D. 567, 569 (N.D.Cal.1988); Beck v. American Health Group Int'l, 211 Cal.App.3d
14
15
       1555 (1989). For this reason, the true intent of a party is irrelevant if it is

16     unexpressed. Union Bank v. Winnebago Indus., 528 F.2d 95, 99 (9th Cir.1975); Mill

17     Valley v. Transamerica Ins. Co., 98 Cal.App.3d 595 (1979)

18              Where the language of a contract is clear and not absurd, it will be followed.

19     Civ. C. §1638 (West 2021); see Pierce v. Merrill (1900) 128 Cal. 464, 472. If the
20     meaning is uncertain, the general rules of interpretation are to be applied. Civ. C.
21     §1637 (West 2021); see Burns v. Peters (1936) 5 Cal. 2d 619, 623. When a contract is
22     reduced to writing, the parties' intention is ascertained from the writing alone, if
23     possible, subject to other provisions governing interpretation. Civ. C. 1639 (West
24     2021).
25              The word “cure” as a verb in plain English, according to the Oxford Dictionary,
26     means;
27     verb
                   1. relieve (a person or animal) of the symptoms of a disease or condition.
28

                                                       3
                       NEMAN BROTHERS & ASSOC.,INC.’S OPPOSITION
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 1
                     "he was cured of the disease"
                  2. preserve (meat, fish, tobacco, or an animal skin) by various methods such
 2                   as salting, drying, or smoking.
                     "home-cured ham"
 3
 4
              The plaining meaning of cure means only removing the issue of the on-going
 5
       infringement (i.e. removing symptoms), which does not necessarily mean a complete
 6     release from the liability (i.e. medical bills) too. In this present case, even assuming it
 7     could arguably mean otherwise, reading of the entire section 5 using the word “cure”,
 8     clarifies what the section intended by expressly providing at the end;
 9                   “Plaintiff agrees that it will not file a lawsuit or lodge a complaint against
10                   Defendant for an alleged infringement before the expiration of thiity (30)
11                   days after given Defendant Adequate Notice of the alleged
12                   infringement to allow Paities time to resolve the dispute ainicably.”
13                   (Interfocus’ Sealed Exhibit 3 and Redacted Exhibit 2).
14
              Obvious is that the Parties agreed “dispute” remains to be resolved, even after the
15
       seven business days to “cure”. Interfocus may or may not decide there is any
16
       infringement and therefore, it may or may not take down the accused garments. If it does,
17
       the damage issue remains to be resolved, and if it does not, the willful and on-going
18
       infringement issue will also be added to the dispute.
19            Further, Section 6 also states; 1
20                  “The Parties agree to make good faith efforts to settle all future disputes
21                   (if any). For instance, the Parties optionally may enter into commercially
22                   feasible transactions, such as a license agreement for the sale of the
23                   garments bearing Plaintiff’s designs by InterFocus.”
24            If the Parties really intended “cure” to mean “complete release from liability by
25     taking down the garments from the website”, Section 6 would have not needed at all. The
26
27
       1
              For unknown reason, while unilaterally disclosing, without Neman Brother’s consent,
28     Sections 5 and 7, Interfocus redacted Section 6.
                                                      4
                      NEMAN BROTHERS & ASSOC.,INC.’S OPPOSITION
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 1     same settlement agreement in the same section 5 and the subsequent section 6 expressly
 2     and clearly state, at least twice that there would be disputes, which the parties were to try
 3     to settle in “good faith” “amicably”.
 4            The prior settlement agreement as a contract is clear as to what the parties
 5     intended and what “cure” would mean. While “cure” was not a good choice 2 of a word,
 6     the parties still made it clear as to what and how to be done when there would be a
 7     subsequent infringement after the execution of the settlement, that is, giving seven
 8     business days to Interfocus to take down the accused garment, taking 30 days to negotiate
 9     the settlement, and if no settlement, Neman Brothers may file a suit.
10            Even assuming arguendo the above is still not sufficiently clear but uncertain, the
11     analysis discussed below, pursuant to the applicable statutes and the case law, would
12     again make it clear that Interfocus is playing a word game in bad faith.
13            The above shows the objective intent manifested in the agreement is to give

14     seven business days to remove the on-going infringement while giving thirty days to the

15     parties to resolve the dispute about the liability issue about the infringements done.

16     Further, as discussed below, the intent manifested by surrounding conduct even more

17     strongly shows Interfocus’ argument is without merit and even false.

18
       2. The Subsequent Acts of the Parties Including Interfocus Clearly Show That “Cure”
19
       Only Meant “Take Down”, And Therefore, the Dispute Remains to Be Resolved.
20
              Acts of the parties, subsequent to the execution of the contract and before any
21
       controversy has arisen as to its effect, may be looked to in determining the meaning.
22
       “This rule of practical construction is predicated on the common sense concept that
23
       ‘actions speak louder than words.’ Words are frequently but an imperfect medium to
24
       convey thought and intention. When the parties to a contract perform under it and
25
       demonstrate by their conduct that they knew what they were talking about the courts
26
27
28     2
              The term “cure” was put by Interfocus while negotiating on the drafts. Exhibit 26.
                                                      5
                      NEMAN BROTHERS & ASSOC.,INC.’S OPPOSITION
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 1
       should enforce that intent.” (emphasis added) Crestview Cemetery Assn. v. Dieden
       (1960) 54 Cal. 2d 744, 754; see CACI, No. 318 3 [Interpretation—Construction by
 2
       Conduct]; Southern Pac. Trans. Co. v. Santa Fe Pac. Pipelines (1999) 74 Cal.App.4th
 3
       1232, 1242 (conduct of parties to agreements by pipeline company to pay rent for
 4
       easements on railroad right-of-way had to be considered on issue of valuation); Alameda
 5
       County Flood Control & Water Conservation Dist. v. Department of Water Resources
 6
       (2013) 213 Cal.App.4th 1163, 1196 (any ambiguity regarding allocation of proceeds or
 7
       value of system power pool sales or trades in state water project contract was clarified by
 8
       course of dealing between parties); see also 5 Corbin (Rev. ed.), § 24.16. “In construing
 9
       contract terms, the construction given the contract by the acts and conduct of the
10
       parties with knowledge of its terms, and before any controversy arises as to its
11
       meaning, is relevant on the issue of the parties' intent.” (emphasis added) Southern
12
       Pacific Transportation Co. v. Santa Fe Pacific Pipelines, Inc. (1999) 74 Cal.App.4th
13
       1232, 1242.
14
                In this case, after receiving Neman Brothers’ cease and desist letter, Interfocus
15
       wrote a reply letter on October 5, 2021. After confirming “InterFocus promptly removed
16
       the product listings at issue”, the letter 4 on the second page stated;
17
                        “As a gesture of good faith and in accordance with Section 6 of the
18
                        parties' Settlement Agreement and Mutual Release dated March 23, 2020,
19                      InterFocus provides the following summary information regarding sales 5
20
21
22     3
           The jury instruction states “In deciding what the words in a contract meant to the parties,
23     you may consider how the parties acted after the contract was created but before any
       disagreement between the parties arose.” (emphasis added)
24     4
                The writer of the said letter was Ms. Linna Chen who represented Interfocus during the
25     negotiation of the settlement agreement in the prior case and during the negotiation of the
       subsequent infringement before filing this case. Mr. Mark Lee was retained for Interfocus for the
26     first time, after February 2, 2021, about two months after this case was filed. Exhibit 41.
       5
27              Interfocus’ witness Weiwei Le also admits in her declaration that after she personally
       reviewed the cease and desist letter and saw Neman Brothers’ counsel arguing about “additional
28     copyright infringements”, she “requested that I be provided with all available information
                                                        6
                         NEMAN BROTHERS & ASSOC.,INC.’S OPPOSITION
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 1
                   of the articles at issue that were made on the PatPat platfonn.” (emphasis
                   added) Exhibit 33.
 2
            The same letter at the end also stated;
 3
                   “InterFocus has removed the product listings identified in your letter and is
 4
                   further prepared to pay to your client its entire profit [amount redacted]
 5
                   from sales of the articles at issue. Please let us know if you agree.”
 6
                   (emphasis added) Exhibit 33.
 7
            In addition, in the subsequent negotiations, Interfocus indicated again that
 8
     Interfocus knew what Sections 5 and 6 meant and that “cure” did not mean release from
 9
     infringement liabilities. In emails on September 18, 2020 and September 29, 2020,
10
     Neman Brothers’ counsel Mr. Jeong wrote “Please email me the records of purchase and
11
     sale so that we can discuss the settlement” and “10/15 is the last day we can settle by,
12
     before filing a lawsuit. Exhibit 31. I did not receive any sale/purchase records.” In
13
     response, Interfocus counsel wrote “We have compiled the sales information and are
14
     preparing a response to you.” Exhibit 31.
15
            After receiving from Neman Brothers’ counsel the counteroffer with the
16
     arguments about Interfocus’ willful infringement liability under Unicolors, Inc. v. Urban
17
     Outfitters, Inc., 853 F.3d 980, 991-92 (9th Cir. 2019) (Exhibit 32), Interfocus counsel Mr.
18
     David Yang stated “InterFocus has already taken down the items identified in your letter.
19   There is thus no need for your client to rush to file a new lawsuit. With all due respect,
20   we would consider a rush to the courthouse to be inconsistent with the two sides'
21   agreement to make good faith efforts to settle their future disputes.” Exhibit 34.
22   He also wrote to suggest “to negotiate a business deal rather than to have the two sides
23   waste time and money on litigation” and then, suggested to combine the settlement with
24   the license deal to fill the gap of the offered amounts between the parties. Exhibit 34.
25
26
27   concerning the extent of such sales” which would have not been needed had she really thought
28   Interfocus’ cure would bar Neman Brothers’ claims. Decl. of Weiwei Le (Docket 35-1), ⁋⁋6-7.

                                                   7
                    NEMAN BROTHERS & ASSOC.,INC.’S OPPOSITION
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 1
            On November 12, 2020, the counsels for the parties had a telephone conversation,
     and next day, Ms. Chen wrote “Nice talking to you yesterday. I look forward to (1) the
 2
     proposed settlement agreement, and (2) example Neman Brothers' design files.” At the
 3
     said teleconference, the parties reached an agreement on the amount and major terms of
 4
     the licensing. Neman Brothers’ counsel then sent a settlement draft by making changes to
 5
     the prior settlement agreement putting the agreed-upon amount and adding the terms of
 6
     the licensing.
 7
            The draft provided;
 8
                      WHEREAS, on or about September 15, 2020, Plaintiff served a cease and
 9                    desist letter to Defendant [Interfocs] pursuant to section 5 of the prior
10                    settlement agreement (“Prior Settlement Agreement”) executed in March
                      2020, regarding certain garments displayed and sold at Defendant's website.
11                    www.patpat.com ("Website") which Plaintiff believed to have infringed
12                    upon its copyrights for certain designs as specified therein (the "Dispute");
                      WHEREAS, the Parties now desire to resolve all disputes. and enter a
13                    Licensing agreement between them in an orderly manner… Exhibit 36.
14
            In returning the draft after their review, Interfocus did not make any change to the
15
     above “Whereas” clauses or the amount while making changes to the terms of the
16
     licensing. Exhibit 37. As this time, the new settlement was to include the licensing, the
17
     sections 5 and 6 from the prior settlement agreement were mostly deleted. Exhibit 37. In
18
     the course of the negotiations, Neman Brothers in good faith emailed multiple designs
19
     and its copyright registrations for Interfocus’ review. Jeong Decl.⁋20. However, in the
20
     end, after wasting two months until November 2020, Interfocus refused to sign the
21
     settlement with no explanation.
22
            NEVER did Interfocus argued that all of the copyright infringement were “cured”,
23
     throughout the whole negotiation from September 15 until November 18, 2020. Jeong
24
     Decl.⁋21. Rather, Interfocus knew what it agreed to, and did negotiate the settlement
25
     pursuant to Sections 5 and 6 of the prior settlement agreement. Jeong Decl.⁋21. It was
26
     only after this lawsuit was filed and the new counsel Mr. Mark Lee appeared in this case,
27
     when Interfocus at a sudden started making the frivolous argument for “cure”, which is
28

                                                    8
                    NEMAN BROTHERS & ASSOC.,INC.’S OPPOSITION
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 1
     nothing but a word play. Jeong Decl.⁋21; Exhibit 41; Interfocus Counterclaim (Docket
     No. 18.
 2
 3
 4   3. The Parties’ Intent under the Circumstances at the Time of Executing the Agreement Is
 5   Clear.
 6             “A contract must be so interpreted as to give effect to the mutual intention of
 7   the parties as it existed at the time of contracting. Civ. C. §1649 (West 2021). “A
 8   contract may be explained by reference to the circumstances 6 under which it was
 9   made, and the matter to which it relates.” (emphasis added) Civ. C. §1647 (West

10   2021). “For the proper construction of an instrument, the circumstances under which it

11   was made, including the situation of the subject of the instrument, and of the parties to it,

12   may also be shown, so that the Judge be placed in the position of those whose language

13   he is to interpret.” (emphasis added) C. Civ. Proc. §1860 (West 2021).

14            When settling the Prior Case, Ms. Chen for Interfocus made the first draft. Exhibit

15   26. In her first draft, she stated at the end of Section 5 “Plaintiff further agrees not to

16   seek further remedies including legal remedies once Defendant has cured the alleged

17   infringement by removing the allegedly infringed products and/or designs…” (emphasis

18   added) Exhibit 26. Then, Neman Brothers’ counsel deleted the said part, and added to

19   the end of Section 6 to limit the scope of the release “…to the extent it relates to the past

20   sale of the gaiments by Interfocus, shown in Exhibits C-1 through C-7 attached to the

21
     complaint (Docket No. 1) in the Action as of 11/26/2019.” Exhibit 27, sections 5 and 7.

22
     Then, Ms. Chen again put in the draft “Plaintiff further agrees that for any infringement
     incurred after the Effective Date, Defendant's legal obligation is limited to (1)
23
     removing any infringing products and/or design from its website and social media
24
25
26
     6
            When two equally plausible interpretations of the language of a contract may be
     made, parol evidence is admissible to aid in interpreting the agreement, thereby
27
     presenting a question of fact that precludes summary judgment if the evidence is
28   contradictory. WYDA Associates v. Merner (1996) 42 Cal.App.4th 1702, 1710.
                                                   9
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 1   account within the time limit as specified in this Agreement; and (2) providing Plaintiff
 2   all profit made by Defendant relating to the infringed products and/or designs.”
 3   (emphasis added) Exhibit 28, section 5. However, Ms. Chen accepted the addition to
 4   Section 6. Exhibit 28, section 6. Mr. Jeong again deleted Ms. Chen’s addition, and in his
 5   email stated “Plaintiff will not waive any rights about the future actions if any.
 6   We never do that unless Defendant pays more for it. If your client can pay 100k, my
 7   client can give an unlimited license to use the designs to sell the garments through
 8   Patpat website. Otherwise, there is no reason for Plaintiff to waive its right to sue
 9   your client for future infringements.” (emphasis added) Exhibit 29.
10         As stated in the email, there was no special circumstances to give Interfocus
11   a de facto permanent and unlimited license to use Neman Brothers’ design until it
12   gets caught without having to pay any damages. The Prior Case was one of the
13   typical copyright infringement cases, and the Settlement Funds to be paid was not
14   big enough to cover such a de facto license to Interfocus.
15         In addition, according to Interfocus interpretation of “Cure”, Interfocus is free to
16   use Neman Brothers’ designs as long as they don’t get caught, and even if getting caught,

17   Interfocus should be find as long as it removes the garments within seven days after

18   notice, which is a de facto unlimited license. Interfocus here also says Neman Brothers

19   received only “Nuisance Value” (Decl. of Weiwei Le (docket no. 35-1), ⁋3) in return for

20   such an unlimited license which makes no reasonable sense.

21        Further, for competitiveness in the market, Neman Brothers either internally creates,

22   or purchases the ownership from design studios, two-dimensional works of art for use on

23   textiles which Neman Brothers customers use to make garments to be sold to retail
24   businesses. Neman Decl. ⁋6. Unauthorized use of Neman Brothers' designs undermines
25   its competitive advantage in a highly competitive industry. Neman Decl. ⁋7. Therefore,
26   for protection of the designs, Neman Brothers routinely registers new artworks as a
27   collection for copyrights with the U.S. Copyright Office before introducing them to the
28   market. Neman Decl. ⁋7. Unfortunately, as there are many businesses selling illegal
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 1   copies, some willful infringers and some innocent infringers, Neman Brothers get to find
 2   many illegal copies, and for protection of its copyrights, has had to file numerous cases
 3   when the parties could not settle the matter prior to filing the actions. Neman Decl. ⁋7.
 4   Most of the cases settled. In none of the settlement agreements in those cases, Neman
 5   Brothers never agreed the defendants’ liability for future infringements would be
 6   completely released as long as the defendants remove the future infringing garments off
 7
     their selves or website because it would be like giving a permanent unlimited license for
 8
     free unless the defendants pay fair amount in return for such quasi-license. Neman Decl.
 9
     ⁋7.
10
            Given the above, from the time of negotiating the agreement, and even
11
     thereafter, receiving the cease and desist letter on September 15, 2020, throughout
12
     the whole time, it was very clear between the parties, there was no release
13
     whatsoever as to the future infringements subsequent to March 2020.
14
15
     4. Given the Clear Interpretation of Sections 5 And 6 As A whole, the Parties’ Intent
16
     under the Circumstances at the time of Execution, And the Subsequent Acts of the
17
     Parties, Epecially Interfocus’ Acts, the Term “Cure” Should Be Rejected Or Made More
18
     Clear to Mean Only “Remove” the Garments in Order to Avoid Continuing
19
     Infringements.
20
            There are precedent cases where the parties had disputes due to a poor choice of
21
     word or even a mistake. “If necessary to carry out the intention of a contract, words may
22   be transposed, rejected, or supplied, to make its meaning more clear.” (emphasis
23   added) Heidlebaugh v. Miller (1954) 126 Cal.App.2d 35, 38. For example,
24   in Vandenbergh v. Davis, plaintiff executed a 3-year lease to defendant of the second
25   floor of a 3-story building. The lease, prepared by a realtor, contained a lessor's covenant
26   giving the lessee the “first refusal” to lease the third floor at not over $100 monthly
27   rental, and a right to occupy that floor until “lessor leases” it and “lessee has refused to
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 1   lease same.” Defendant took the position that he was not required to exercise his right of
 2   refusal until plaintiff actually signed a lease to a third party. Accordingly, he occupied the
 3   third floor for 2 years without paying rent. Meanwhile, plaintiff did have bona fide offers
 4   to lease, but defendant refused to allow the prospects to view the premises. The court
 5   held defendant was liable as a tenant at sufferance from the time he refused to rent. To
 6   avoid absurdity, the phrase “lessor leases” was construed as “layman's shorthand” for
 7   “has an offer to lease.” Vandenbergh v. Davis (1961) 190 Cal.App.2d 694, 698.
 8   Likewise, in Heidlebaugh, a conditional sales contract (a commercial printed form)
 9   provided that, on default, the seller could sell “with or with notice.” The sale was
10   challenged for failure to give notice to the buyer. The court pointed to several provisions
11   in the agreement reading “with or without,” and held that the phrase in question was an
12   inexplicable redundancy resulting from an obvious printer's error. Accordingly, the
13   omitted letters “out” were supplied by interpretation. Heidlebaugh, supra, 126

14   Cal.App.2d at 38.

15          In this case, instead of “cure”, “remove” or “take down” would have been a better

16   choice of word while the prior settlement agreement, especially sections 5 and 6, in their

17   entireties still clearly present what the parties intended as to how the parties were to

18   handle subsequent infringements.

19
20   5. The Interfocus’ Bad-faith Interpretation of “Cure” Is Nothing But An Improper

21   Attempt to “Forfeit” Neman Brothers’ Copyrights.

22          Forfeitures are disfavored; hence a contract, and conditions in a contract, will if

23   possible, be construed to avoid a forfeiture. Civ. C. §1442 (West 2021); see Ballard v.

24   MacCallum (1940) 15 C.2d 439, 444. In Hawley, plaintiff contracted to build a sewer

25
     line. The work was substantially delayed because of defendant district's failure to

26
     promptly correct a mistake in its plans. n this action for breach, a nonsuit was granted on
     the ground that the contract contained a “no damage for delay clause” that authorized
27
     only an extension of time but no damages. The appellate court reversed it. The clause had
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 1   the effect of imposing a forfeiture; such a clause is strictly construed. Hawley v. Orange
 2   County Flood Control Dist. (1963) 211 Cal.App.2d 708, 713.
 3          Interfocus’ interpretation of “cure”, if followed, would result in that no matter how
 4   many infringements for how much and how often, Interfocus would be fine as long as it
 5   takes down the accused garments within seven business days after receiving the Neman
 6   Brothers’ notice. It only paid $15,000 for a settlement of a litigation, which Interfocus
 7   claims to be the payment for a de facto permanent and unlimited license to use for sale
 8   on their website until the time it gets caught. 7 If followed, it would be a forfeiture of
 9   Neman Brothers’ rights to take necessary actions to protect its copyrights and seek
10   damages provided by the U.S. Copyrights Acts.
11
12   6. Interfocus’ Material Breach of Refusing to Make Reasonable Efforts to Resolve the
13   Disputes In Good Faith in Connection with the Other Garments Formed A Material

14   Breach, And Also A Repudiation, Which Justified And Excused Neman Brothers’ Filing

15   A Claim Instead of Repeating the Same Negotiation That Was Already Frustrated Due to

16   Interfocus’ Bad Faith.
            The important question is whether a particular breach will also give the injured
17
     party the right to refuse further performance on his or her own part, i.e., to terminate the
18
     contract. The test is whether the breach is material, and a total or complete breach is of
19
     course material justifying the other party’s refusal to perform. Whether a partial breach is
20
     material depends on the importance or seriousness thereof and the probability of the
21
     injured party getting substantial performance. Superior Motels v. Rinn Motor Hotels
22
     (1987) 195 Cal.App.3d 1032, 1052. Where defendant buyer's delay in tendering the
23
     balance due under a contract for the sale of stock were held to justify plaintiff's treating
24
     the breach as total, despite defendant's frequently expressed willingness to perform.
25
     Sackett v. Spindler (1967) 248 Cal.App.2d 220, 229.
26
27
     7
            Ironically, Interfocus agreed to $85,000 for the settlement of the pending infringement
28   issues with the licensing only for two years. Exhibit 37.
                                                    13
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            As discussed above, in the course of the negotiations, Neman Brothers in good
     faith tried to settlement the matters by even combining it with a licensing. It even emailed
 2
     multiple designs and its copyright registrations for Interfocus’ review. Jeong Decl.⁋28.
 3
     However, in the end, after wasting two months until November 2020, Interfocus refused
 4
     to sign the settlement with no explanation.
 5
            The above made it clear Interfocus was playing only a delay game with no good
 6
     faith efforts to settle, and would do the same even if Neman Brothers starts over with the
 7
     issue of the Infringing Garment 3, which would be nothing but a waste of time only to
 8
     repeat the same discussion that Interfocus frustrated. It forms a material breach as to the
 9
     Infringing Garments 1 and 2, and a repudiation as to the Infringing Garment 3.
10
            Infringing Garment 3 was found in October 2021, and was discussed and agreed to
11
     be covered by Section 8 (Mutual Release) of the final draft of the subsequent settlement
12
     which specified the release to be given to Interfocus to the extent it relates to the past sale
13
     of the garments through the Website on or before the Effective Date, which was defined
14
     to be the full execution date in November 2020. Jeong Decl. ⁋30; Exhibit 37.
15
            As Interfocus complained of it, Neman Brothers’ counsel offered to voluntarily
16
     dismiss without prejudice the claim on the Infringing Garment 3 and start over the
17
     procedure under Sections 5 and 6 as to the Infringing Garment 3, but Interfocus also
18
     refused to do so. On February 2, 2021, when Mr. Mark Lee contacted Mr. Jeong for the
19   first time to request a stipulation to extend the due date to file the answer, and until the
20   time of filing the answer and the counterclaim on February 19, 2020 (Dockets 17 and 18),
21   Mr. Lee never attempted to confer on the issue of Infringing Garment 3. Jeong Decl. ⁋31.
22   After filing the pleadings, Mr. Lee refused to stipulate to the dismissal of the related
23   claim without prejudice. Jeong Decl. ⁋31.
24          The above shows Neman Brothers was justified in not repeating the same
25   procedure under Sections 5 and 6, which Interfocus already frustrated. In fact, Interfocus
26   breached Sections 5 and 6 by refusing to separately negotiate the settlement on the
27   Infringing Garment 3 when Neman Brothers offered to do so. It also forms a failure to
28   reasonably mitigate the damages even if any.

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     7. The case Against One Step Up Had Different Issues.
 2
            Interfocus’ argument based on the case against One Step Up (“OSU Matter”) is
 3
     misplaced and off the points of this case. In the OSU Matter, as the court’s ruling clearly
 4
     stated the settlement agreement at issue provided a release to the OSU to the extent it was
 5
     specified in Section 2. Exhibit 38, p. 5 of 8. The said agreement stated the release applies
 6
     to “all claims that Neman Brothers "may have in com1ection with any conduct involving
 7
     the Accused Ga1ments, to the extent such conduct pe1tains to the goods set forth or
 8
     described in Section 2 above .... " Exhibit 38, p. 5 of 8. Therefore, the question was
 9
     whether the accused garments at issue were part of the 18,400 garments specified in
10
     Section 2. Exhibit 38, p. 5-6 of 8.
11
            In this case, however, the release was given “to the extent it relates to the past
12
     sale of the garments by InterFocus, shown in Exhibits C-1 through C-7 attached to the
13
     complaint (Docket No. 1) in the Action filed on 11/26/2019.” Defendant’s Redacted
14
     Exhibit 2, Section 7. The prior settlement agreement was executed as of March 2020.
15
     Defendant’s Redacted Exhibit 2, Section 7. Therefore, the question is whether the
16
     Infringing Garments sold after March 2020. As admitted in Interfocus counsel’s letter in
17
     October 2020, the said garments were uploaded for sale after March 2020 and until
18
     September 2020: Infringing Garment 1 (both navy and red) on July 1, 2020, Infringing
19   Garment 2 on June 19, 2020. Exhibit 33, p.2-3. As discussed above, the Infringing
20   Garment 3 was on the Interfocus Website as of October 2020 so that Neman Brothers
21   could actually purchase the garment. Exhibit 22, p.2. Further, one of the caretags showing
22   the production information indicated “Made in China 202008”. Accordingly, the pending
23   claims in this case are not barred by the release that was applicable to the sale in or before
24   March 2020.
25
26                                     IV.    CONCLUSION
27          Based on the above, Interfocus’ Motion for Summary Judgment should be denied,
28   and the cross complaint should be dismissed with prejudice.
                                                  15
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 1
 2   Dated: July 26, 2021                     RESPECTULLY SUBMITTED,
                                              Respectfully submitted,
 3
                                             _/s/Chan Yong Jeong______
 4                                            Chan Yong Jeong, Esq.
 5                                            Attorney for Plaintiff

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